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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                    2:07 - cr - 571 - GEB TJB

12          vs.

13   FELIX JAUREGUI,

14                  Movant.                        ORDER

15   ________________________________/

16                  Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

17   aside or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United

18   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

19                  On June 20, 2012, the magistrate judge filed findings and recommendations which

20   were served on all parties and which contained notice to all parties that any objections to the

21   findings and recommendations were to be filed within twenty-one days. After the findings and

22   recommendations were returned as not deliverable as addressed to movant, they were reserved by

23   mail on July 25, 2012. Thereafter, on August 20, 2012 movant filed a motion for an extension of

24   time to file objections to the findings and recommendations until August 20, 2012. He also filed

25   his objections on August 20, 2012. Good cause appearing, movant’s motion for an extension of

26   time to file his objections will be granted and his objections shall be deemed timely.

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 1                 The court has reviewed the file, including the objections, and finds the findings

 2   and recommendations to be supported by the record and by the magistrate judge’s analysis.

 3   Accordingly, IT IS HEREBY ORDERED that:

 4                 1.      Movant’s motion for an extension of time to file objections (Dkt. No.

 5                         355.) is GRANTED and movant’s objections are deemed timely;

 6                 2.      The findings and recommendations filed June 20, 2012, are adopted in

 7                         full;

 8                 3.      The motion to vacate, set aside or correct a sentence under 28 U.S.C. §

 9                         2255 is DENIED;

10                 4.      The court declines to issue the certificate of appealability referenced in 28

11                         U.S.C. § 2253; and

12                 5.      The Clerk of the Court is directed to close the companion civil case, No.

13                         2: 11-cv-0906 GEB-TJB.

14   Dated: August 29, 2012
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16                                            GARLAND E. BURRELL, JR.
                                              Senior United States District Judge
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